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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.: 1:20-CV-20698

  JORGE DELGADO MEDINA,

          Plaintiff,

  vs.

  WATERFRONT CONSTRUCTION INC. and
  JORGE RIVAS,

        Defendants.
  ______________________________/

                       COMPLAINT FOR FLSA OVERTIME VIOLATION(S)

          Plaintiff, Jorge Delgado Medina, sues Defendants, Waterfront Construction Inc. and

  Jorge Rivas, as follows:

                                     Parties, Jurisdiction, and Venue

          1.      Plaintiff, Jorge Delgado Medina, is over 18 years old and has been a sui juris

  resident of Miami-Dade County, Florida, at all times material.

          2.      Plaintiff was an hourly employee of Defendants, as the term “employee” is defined

  by 29 U.S.C. §203(e).

          3.      Plaintiff was a non-exempt employee of Defendants.

          4.      Plaintiff consents to participate in this lawsuit.

          5.      Defendant,           Waterfront         Construction      Inc.   (“Waterfront

  Construction”), is a sui juris Florida for-profit corporation that conducted its waterfront

  construction business in Miami-Dade County, Florida, at all times material, where it maintained

  its principal place of business.


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          6.      Defendant, Jorge Rivas, was at all times material an owner/officer/director of

  Waterfront Construction, for the time period relevant to this lawsuit. He ran Waterfront

  Construction’s day-to-day operations, supervised Plaintiff, was responsible for all operational

  decisions, and was partially or totally responsible for paying Plaintiff’s wages.

          7.      Venue is proper pursuant to 28 U.S.C. §1391(b)(ii) because Defendants transact

  business in this District, because Defendants, maintained their principal places of business in this

  District, because Plaintiff worked and was due to be paid in Miami-Dade County, and because

  most if not all of the operational decisions were made in this District.

          8.      This Court has original jurisdiction over Plaintiff’s federal question claims

  pursuant to 28 U.S.C. §1331 and 26 U.S.C. §201, et seq.

          9.      Any/all condition(s) precedent to filing this lawsuit occurred and/or was satisfied

  by Plaintiff.

          10.     Plaintiff retained the undersigned counsel and agreed to pay a reasonable fee for

  all services rendered.

                                          Background Facts

          11.     Defendants were Plaintiff’s direct employers, joint employers and co-employers

  for purposes of the FLSA, as the term “employer” is defined by 29 U.S.C. §203(d).

          12.     Defendants regularly employed two or more employees for the relevant time

  period that handled goods or materials that travelled through interstate commerce, or used

  instrumentalities of interstate commerce, thus making Defendants’ business an enterprise covered

  by the Fair Labor Standards Act.

          13.     Defendants have been at all times material engaged in interstate commerce in the

  course of their provision of waterfront construction, contracting, and structures around a marina

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  which, traditionally, cannot be performed without using shingles, roof tiles, felt, tar, adhesives,

  fasteners, vehicles, wood, goods, materials, supplies, and equipment that have all moved through

  interstate commerce.

          14.       Defendants also engage in interstate commerce in the course of their submission

  of billings and receipt of payment involving out-of-state payors.

          15.       Furthermore, Defendants obtain, solicit, exchange and send funds to and from

  outside of the State of Florida, regularly and recurrently use telephonic transmissions going

  outside of the State of Florida to conduct business, and transmit electronic information through

  computers, the internet, via email, and otherwise outside of the State of Florida in the course of

  their business.

          16.       Defendants’ annual gross revenues derived from this interstate commerce are

  believed to be in excess of $500,000.00 for the relevant time period.

          17.       Defendants hired Plaintiff to work for them as labor to also perform for them.

          18.       Plaintiff transported materials, pilings, wood, concrete, and supplies, that traveled

  in interstate commerce prior to his working on and transporting same.

          19.       During this time, Plaintiffs regularly and routinely utilized vehicles, cellular

  telephones, vessels, fuel, oil, lubricants, and other goods and supplies that moved through

  interstate commerce.

          20.       Plaintiff worked for Defendants from about February 2018 to February 4, 2020.

  To the extent that records exist regarding the exact dates of Plaintiff’s employment exist, such

  records are in the exclusive custody of Defendants.

          21.       Plaintiff would start his workday when Defendants picked him up and drove him

  to the jobsite(s).

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         22.     Defendants then drove Plaintiff home at the end of the workday.

         23.     Plaintiff worked for Defendants for an average of 65 hours per week.

         24.     Defendants paid Plaintiff at an hourly rate of $21.00 per hour for up to 40 hours

  per week, regardless the actual hours worked.

         25.     Defendants paid Plaintiff on a weekly basis by check.

         26.     Plaintiff would regularly and routinely work more than 40 hours in a workweek

  for Defendants.

                                              Liability

         27.     Defendants failed and refused to pay Plaintiff overtime wages calculated at time

  and one-half times his regular hourly rate(s) of pay for all of the hours that he worked over 40

  hours in a given workweek.

         28.     Defendants willfully and intentionally refused to pay Plaintiff wages at a rate of

  time and one-half times his regular rate of pay for each of the overtime hours he worked during

  the relevant time period by paying Plaintiff for up to 40 hours each week without paying him

  overtime wages for any of the overtime hours he worked.

         29.     Defendants either recklessly failed to investigate whether their failure to pay

  Plaintiff an overtime wage for the hours he worked during the relevant time period violated the

  Federal Wage Laws of the United States, they intentionally misled Plaintiff to believe that

  Defendants were not required to pay an overtime rate, and/or Defendants concocted a scheme

  pursuant to which the deprived Plaintiff the overtime pay earned.

         30.     Plaintiff is entitled to a backpay award of overtime wages for all overtime hours he

  worked, plus an equal amount as a penalty, plus all attorneys’ fees and costs.



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          WHEREFORE Plaintiff, Jorge Delgado Medina, demands the entry of a judgment in his

  favor and against Defendants, Waterfront Construction Inc. and Jorge Rivas, jointly and

  severally after trial by jury, and as follows:

                  a.      That Plaintiff recover compensatory overtime wage damages and an equal

                          amount of liquidated damages as provided under the law and in 29 U.S.C.

                          § 216(b);

                  b.      That Plaintiff recover pre-judgment interest on all unpaid overtime wages

                          if the Court does not award liquidated damages;

                  c.      That Plaintiff recover an award of reasonable attorneys’ fees, costs, and

                          expenses pursuant to the FLSA;

                  d.      That Plaintiff recover all interest allowed by law;

                  e.      That Defendants be Ordered to make Plaintiff whole by providing

                          appropriate overtime pay and other benefits wrongly denied in an amount

                          to be shown at trial and other affirmative relief;

                  f.      That the Court declare Defendants to be in willful violation of the

                          overtime provisions of the FLSA; and

                  g.      Such other and further relief as the Court deems just and proper.




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                                DEMAND FOR JURY TRIAL

       Plaintiff, Jorge Delgado Medina, demands a trial by jury of all issues so triable.

       Respectfully submitted this 18th day of February 2020,

                                                      s/Brian H. Pollock, Esq.
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